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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           SOUTHERN DIVISION AT LONDON

                                       Electronically Filed

  DAVID WILSON, as Administrator of the
  Estate of Lisa Noble, Deceased, Plaintiff
                                                  C.A. No.: 6:17-00157-CHB-HAI

                                                  PLAINTIFF’S MEMORANDUM IN
                                                  SUPPORT OF MOTION FOR
  VS.
                                                  SANCTIONS FOR INTENTIONAL
                                                  DESTRUCTION AND FAILURE TO
                                                  PRESERVE ELECTRONICALLY
                                                  STORED INFORMATION
  BEACON TRANSPORT, LLC and
  TERRAN COOPER, Defendants




        Comes Plaintiff pursuant to Judge Ingram’s Order at Docket No. 129, by counsel, in

support of Plaintiff’s Motion for Sanctions for Intentional Destruction and Failure to Preserve

Electronically Stored Information against Beacon Transport, LLC and Terran Cooper, stating:



                                       INTRODUCTION

        This case concerns a November 5, 2017 crash between a white Volkswagen Jetta driven

by Ms. Lisa Noble and a tractor-trailer driven by Mr. Terran Cooper. Mr. Cooper was driving

the tractor-trailer on behalf of his employer Beacon Transport, LLC (hereinafter “Beacon”).

Beacon owned the tractor-trailer that Mr. Cooper drove. At the time of the crash, Ms. Noble was

on her way to pick up her grandchildren. Her grandkids lived with her, and they were to be

released early from school because of expected inclement weather.
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       Ms. Noble was in the left “passing” lane of travel as she drove up a long hill in a two-lane

section of Northbound I-75 near Williamsburg. The Beacon truck driven by Mr. Cooper was in

the same left “passing” lane of travel ahead of Ms. Noble. Prior to the crash, Mr. Cooper was

purportedly attempting to change lanes from the left lane to the right as he travelled up a long

hill. There was a vehicle driven by Mr. Michael Anderson positioned between Ms. Noble’s

vehicle and the Beacon truck that, moments prior to the crash, changed lanes from the left lane to

the right lane ahead of Ms. Noble as they drove uphill towards the Beacon truck. When Ms.

Noble appreciated the presence of the slowed or stopped truck hazard, she attempted the same

evasive lane change as did Mr. Anderson. Tragically, she did not have enough time or space for

that evasive maneuver to succeed. The front driver’s side of Ms. Noble’s Jetta struck the right

side of the rear underride guard of Defendant Cooper’s slow-moving or stopped trailer. The roof

of Ms. Noble’s Jetta was sheared away amidst significant other damage to the driver’s side of the

Jetta. Ms. Noble suffered multiple injuries in the crash. Other drivers stopped and comforted her

after the crash; Mr. Cooper got out and took pictures and video of these Good Samaritans

attending to Ms. Noble. Ms. Noble died at the hospital later that day from her injuries.

       Prior to the crash, Mr. Cooper had stopped or slowed the Beacon tractor-trailer to 15mph

or under according to the various experts in the case. He was in the left (fast) lane of travel.

There is a dispute as to whether the tractor-trailer was displaying its hazard lights at the time of

the crash, with multiple non-party witnesses stating no lights were activated, and Mr. Cooper

alone claiming they were. It is undisputed that there was no traffic in the left (fast) lane ahead of

Mr. Cooper to cause him to stop or slow as he did. Rather, Mr. Cooper claimed he was

attempting to change lanes into the slow lane at the time of the crash. Mr. Cooper claims that he




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could not safely make his lane change prior to the crash because traffic was passing and going

around him in the right lane as he waited to change lanes.

       Plaintiff alleges, among other causes of action in the Complaint, that the crash was a

direct result of Mr. Cooper’s negligent operation of Beacon’s tractor trailer, creating a roadway

hazard that proved fatal to Ms. Noble. Defense reconstructionist Ken Agent testified that the

Beacon truck created a dangerous situation with its speed as Mr. Cooper operated it in the fast

(left) lane of the interstate. Mr. Cooper was an employee of Beacon at the time of the crash, and

Beacon has vicarious liability for his actions. Damages sought from these Defendants include an

award for the conscious pain and suffering of Ms. Noble, in addition to economic damages for

her wrongful death.

       Material electronic evidence pertaining to both liability of the Defendants and damages

for Ms. Noble’s conscious pain and suffering was intentionally and maliciously destroyed by the

Defendants for the purpose of gaining unfair advantage in the defense of this case. Based upon

the testimony of the Defendants and witnesses in this case Mr. Cooper captured highly material

video and photographs of:

               1)     traffic conditions prior to and at the time of the crash,

               2)     the crash,

               3)     the scene of this crash prior to the arrival of emergency responders, and

               4)     Ms. Noble’s condition after the crash.

       Based upon the testimony of Beacon personnel, it is further established in the record that

Beacon permitted electronic communications between it and Mr. Cooper to be destroyed due to

the passage of time despite specific demand by undersigned counsel that it preserve this




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electronic communications information – maintained in a system known as Omnitracs (and also

referred to in the case using a former name for the system of Qualcomm).

       Defendants maliciously and intentionally destroyed and purposely failed to preserve

electronic information in violation of Rule 37(e). This Motion seeks sanctions: this conduct

persisted from the inception of this case in early 2017 through the close of Plaintiff’s discovery

against the defense. The documented timeline that follows shows a pattern of suspect conduct

and intentional misdeeds perpetrated to gain advantage in the defense of this litigation.



                                                  FACTS

       As the timeline that follows shows, evidence was requested to be preserved for this

anticipated litigation within 30 days of this crash. Efforts were made to exchange documents in

the interests of a possible pre-suit resolution of the claim. Those efforts failed. Suit was filed

when the case did not resolve. The need for preservation and downloading of electronically

stored information was then jointly reported to the Court. A Protective Order ultimately was

entered for electronics used in the Beacon truck that Plaintiff sought to download and inspect.

Legal resources were spent in pursuit of electronic information sought preserved. That

information included digital photographs, drive cam video, hand held camera scene video, and

electronic communications between Beacon and Mr. Cooper utilizing the Beacon truck’s

Omnitracs/Qualcomm system. The Omnitracs system is a computer that is added in the cab of

the truck and one use of it is as the means of communication between the driver and Beacon

when the driver is on the road, it also has GPS data, electronic driver hours of service data, and




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other functions.1 Beacon mandates that drivers use Omnitracs to communicate with it – it is akin

to email.

        For the Court’s ease in following the series of events leading up to the Motion at bar,

below is an annotated timeline:

 January 5, 2017          Date of Collision – Mr. Cooper is Witnessed Videotaping Scene.
                          - Mr. Cooper admitted taking photographs with his phone at the scene.
                          - Witness Tammy Saylor gives a statement to KSP that the truck driver
                             was “videoing”. Saylor Affidavit, p. 4 at Docket No. 123-1.
                          - Witness Selena Moore likewise witnessed that “the truck driver was
                             videotaping us while we tried to help and comfort Lisa”. See Moore
                             Affidavit at Docket No. 123-2 at p. 2 and p. 4. Ms. Ms. Moore and Ms.
                             Saylor are referring to Mr. Cooper whom she witnessed videotaping
                             her as she tried to comfort Ms. Noble.

Jan 6-7, 2017             Beacon Employee Lisa Milom downloads electronics in Cooper
                          Truck.
                          - Beacon downloads Mr. Cooper’s phone the first time.
                          - Mr. Cooper claims Beacon downloaded all electronics in his truck,
                             dash cam, ECM, computer, his GPS, and his Omnitracs unit.
                          -
February 3, 2017          Tim Lange sends preservation letter to Beacon and Mr. Cooper.
                          - Receipt confirmed by Beacon Safety Director Jeff Knittel who
                             provided it to Counsel Judd, attached as Exhibit 1.

February 9, 2017          Counsel Harlan Judd sends representation reply spoliation letter.
                          - Confirms representation of Defendants; demands preservation of
                             Lisa Noble phone, photographs, videos, computer media, databases,
                             recordings of the Noble vehicle, etc., attached as Exhibit 2.

February 28, 2017         Plaintiff e-mails Counsel Judd – seeks 3/3/18 Cooper phone download.

March 3, 2017             Tractor Trailer inspected at Beacon facility in Tennessee. Cooper
                          phone and cameras not produced for inspection.

May-August, 2017          Counsel Judd oversees incomplete download of Cooper phone.

May 17, 2017              Counsel Judd e-mails select pre-suit truck photos to Tim Lange that
                          included 10 black and white photocopies of pictures of Beacon’s No
                          photographs of the Noble Vehicle.

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  The electronic fleet management system in issue is called Omnitracs, and is often also called Qualcomm in the
industry. The names were used interchangeably in the record. The history is that Qualcomm owned Omnitracs and
sold it a few years ago.

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                    -   Copies of these photographs are attached as Exhibit 3.
June 19, 2017       Complaint Filed.
August 3, 2017      Parties’ Joint Planning Conference Report at Docket No. 39.
                    - Section 6 identifies electronics needing download to the Court.
August 8, 2017      Plaintiff sends Requests for Admission, Interrogatories and Requests
                    for Production of Documents sent to Defendants.

August 14, 2017     Scheduling Order at Docket No. 12 & Pretrial Order at Docket No.13.
August 18, 2017     Omnitracs (Qualcomm) subpoena issued by Plaintiff to produce
                    all records at Docket No. 17.1.

September 7, 2017   Beacon’s Response to Request for Admissions filed at Docket No. 22.
                    - Beacon denies that Mr. Cooper took photographs of Ms. Noble’s
                       vehicle with her still inside of it at Request No. 12.

September 7, 2017 Mr. Cooper’s Response to Request for Admissions at Docket No. 23.
                   - Mr. Cooper denies that he took photographs of Ms. Noble’s vehicle
                      with her still inside of at Request No. 12.
                   - Mr. Cooper denies taking video of the Noble vehicle with Ms. Noble
                      still inside of it at Request No. 13.

September 18, 2017 Omnitracs Subpoena Response – No Data Retained for Time Period,
                   attached as Exhibit 4.

October 17, 2017    Defendant Cooper’s and Beacon’s Answers to Interr. & Requests for
                    Production filed at Docket No. 28 and 29 Respectively.
                    - All data in issue in this motion is requested.
                    - A response of “See Composite Exhibit A” was made to these requests
                       relating to electronic information. Composite Exhibit A did not
                       contain Omnitracs communications data, any video or any
                       photographs depicting the Noble vehicle. Claimed no duty to notify
                       third parties to preserve Beacon’s Omnitracs data.

January 19, 2018    Rule 30(B)(6) deposition notice for Beacon Corporate Representative
                    filed at Docket No. 30
                    - Requires production of the original of all electronic files preserved,
                        including Omnitracs electronic communications, photographs and
                        video.

January 30, 2018    Counsel Lange email to Counsel Judd requesting supplementation of
                    Beacon Discovery Responses, including all data for Omnitrac
                    systems, communications, and camera systems. Attached as Exhibit 5.



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February 2, 2018       Plaintiff’s Notice to inspect electronics including Cooper’s phone on
                       2/22/18 at Docket No. 39.

February 8, 2018       Mr. Cooper factory resets his phone, irretrievably deleting all data.
February 15, 2018      Counsel Judd requests move of electronics inspection to Cooper Depo.
February 18, 2018      Amended Notice of Inspection filed for electronic0 at Docket No. 44.
February 19, 2018      Agreed Protective Order Re: Electronic Discovery executed for
                       attempted phone download at Docket No. 47.

February 19, 2018      Cooper Deposition & Inspection of Electronics – phones, camera, etc.
                       - Only the Cooper phone was produced; it was discovered reset.

February 26, 2018      Depositions of Beacon’s Corporate Representatives Stan Pritchett,
                       Randy Cummins, Jeff Knittel and Billie Jo Little with production date
                       for requested Production of Original Documents/Things including all
                       Electronics at Docket No. 30.
                       - No electronics, phones, cameras, computers produced.

February 28, 2019      Counsel Judd sends CD with copy of incomplete download he had
                       made by undisclosed person of selected picture files from Mr.
                       Cooper’s phone.

                                           ARGUMENT

       Rule 37(e) permits the Court to assess an appropriate sanction for the destruction of

electronic evidence. Among those sanctions is the ultimate sanction of a directed verdict, and

the lesser sanctions of instructions relating to the evidence that was destroyed. At the heart of the

consideration before the Court is the intent of the party destroying the evidence. Intent is clear in

this instance. It is not disputed that Mr. Cooper, as he operated the Beacon truck, created a

dangerous situation by driving at the speed he did, in the left lane of I-75. Agent Depo, p. 233

l.6-23, attached as Exhibit 6. The destruction was intended to deprive Plaintiff, this Court, and

the jury of evidence. Principal issues of fact in dispute that are material to this Motion because

they are impacted by evidence that was intentionally destroyed include:

       1.      How many vehicles passed on the right of the Beacon truck as Ms. Noble
               approached from behind.


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        2.       Whether traffic passing Mr. Cooper on his right was sufficiently spaced that he
                 could have changed lanes prior to this collision safely, as opposed to continuing
                 the road hazard he created by stopping or driving his vehicle between 0-15 miles
                 per hour at the time of the crash in the left lane of travel.

        3.       What vehicles were in proximity to Ms. Noble’s vehicle as she approached.

        4.       What traffic was ahead of Ms. Noble that would have potentially affected her
                 view of the hazard represented by the Beacon truck blocking her lane of travel.

        5.       What traffic, if any, prohibited or otherwise affected Ms. Noble’s ability to move
                 from the left lane into the right lane of travel to avoid the Beacon truck hazard.

        6.       Whether Mr. Cooper’s hazard lights were activated at the time of the crash should
                 his dash cam or video have captured same or their sound made when blinking.

        7.       The speed of the Beacon tractor-trailer prior to and at the time of the crash.

        8.       Movement of the Beacon truck after the crash.

        9.       Movement of the Noble vehicle after the crash.

        10.      Ms. Noble’s physical condition after the crash.

        11.      Ms. Noble’s mental state after the crash.

        12.      Whether Ms. Noble displayed signs of pain and suffering after the crash.

        13.      The duration of Ms. Noble’s period of conscious pain and suffering after the
                 crash.

        14.      The actions of witnesses at the scene after the crash as they comforted Ms. Noble.

        15.      Mr. Cooper’s conduct upon his exiting the vehicle as he photographed and
                 allegedly videotaped the scene, Ms. Noble, and the people who were trying
                 to comfort and aid her prior to her extrication by emergency services personnel.

   I.        This destruction of electronic evidence was intended to deny Plaintiff evidence.

        There is an obvious motive for Beacon and Cooper’s destruction of evidence: depriving

Plaintiff of the use of it. Mr. Cooper’s actions at the scene according to witnesses were horrid.

Non-party witnesses Ms. Moore and Ms. Saylor witnessed him videotaping her and others who

were trying to help and pray with Ms. Noble. Such is in Ms. Saylor’s KSP statement given the

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day of the crash. He kept telling them not to touch Ms. Noble while videotaping. Ms. Moore

witnessed him photographing them with his phone camera and taking video with another

camera. Selena Moore Affidavit, P.2 and p. 4 at Docket No. 123-2. This video evidence would

be damning.

        As to proof of the existence of the missing electronic information, Mr. Cooper’s

testimony was that all of his electronics in his truck were downloaded – dash cam, phone, GPS,

Qualcomm (Omnitracs), truck ECM/computer. Cooper Depo, p. 59 l. 20 – p. 64 l. 7, attached as

Exhibit 7. Beacon Employee Lisa Milom testified that she downloaded photographs from Mr.

Cooper’s phone on his return from the run. Milom Depo, p. 14 l.18 – p. 17 l. 9, attached as

Exhibit 8. There evidently then appear to have been two downloads of the Cooper phone: 1) the

Lisa Milom Download where she pulled pictures from the phone, and 2) evidently a second

download coordinated by Counsel Judd. Mr. Judd confirmed at Mr. Cooper’s deposition that he

participated in a download of the Cooper phone between May and August of 2017. Cooper

Depo, p. 18 l. 18-25, attached as Exhibit 7. 2

         It would seem beyond reasonable comprehension that a nearly 200 unit motor carrier

such as Beacon having primary and excess specialized trucking insurance coverage and the legal

assistance accompanying same along with a dedicated Safety Director Mr. Knittel would have

failed to do exactly as Mr. Cooper testified and extracted data from everything that could provide

it. No electronic “stone” would be unturned. It also unfortunately stands to reason – whether to

save a job or just money - that damning evidence captured was purposefully destroyed.




2
 This is the case despite that Defendant Cooper claimed that he believed only the Judd-Expert Download was
attempted prior to his deposition. Cooper Depo, p. 18 l. 18 – p. 20 l. 8, attached as Exhibit 7.

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       II.       All evidence destroyed was specifically demanded to be saved within 30 days.

             Plaintiff’s February 3, 2017 preservation/anti-spoliation letter was sent to Beacon’s

 Safety Director Jeff Knittel. It was his job to investigate this crash. He testified for Beacon about

 his investigation. The letter demanded every piece of evidence that Beacon and/or Mr. Cooper

 evidently ultimately destroyed. This included 1) Omnitracs data, 2) dash cam electronic data

 (digital video with date/time/sound/video) 3) photographic data (pictures with date/time stamp)

 4) cell phone data (data that could tell what apps were in use, what pictures and video were

 taken, provide that picture/video, etc.) and 4) the actual cell phone, dash cam, and the Omnitracs

 computer from the truck so that they could be examined to see if data was captured, ever deleted

 and whether it could be recovered. The preservation letter explicitly explained that Ms. Noble’s

 estate demanded every item of evidence in issue preserved and that each were sought for exam:




             Modern trucks are simply amazing with respect to the data captured in their operation.

 The Defendants were specifically demanded to preserve as well as to notify suppliers of involved

 systems such including Omnitracs to save all data from electronics within the truck:




 and




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 and




 and




        Concerning photographs and video, the letter demanded specific preservation of:




        Because of litigation experience in trucking cases involving the intentional spoliation of

 evidence, Counsel Lange was concerned that materials may be selectively preserved, deleted or

 destroyed. Because so much information is intentionally deleted or otherwise lost, warning was

 given and demand made to preserve the actual storage media on which data in issue resided –

 such as Mr. Cooper’s phone that Mr. Cooper ultimately reset, “wiping” it of recoverable data:




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        Ignorance cannot be pled earnestly in any defense of this motion. Counsel Judd made

 similar requests for preservation in his preservation letter of February 9, 2017. It is well known

 that one should review and save everything from a fatal crash in the trucking industry. The

 destruction of these materials is contrary to the guidance provided by directives of the Federal

 Motor Carrier Safety Administration. FMCSR §379.7 and Appendix A to part 379, Note A

 states that “companies shall exercise reasonable care in choosing retention periods, and the

 choice of retention periods shall reflect past experiences, company needs, pending litigation,

 and regulatory requirements.” This is not Beacon’s first suit; it has past experience. It was

 advised of pending litigation. It had Counsel Judd. These materials are fundamental – Omnitracs

 is mandated used by drivers by Beacon when communicating with it. Video, pictures, phones,

 cameras are rudimentary items to preserve in a commercial truck crash, especially a fatal crash.



 III.   Plaintiff is materially prejudiced by the destruction of the best evidence of
        the circumstances of the crash and of Ms. Noble’s condition after the crash.

        In addition to the downloads of Mr. Cooper’s phone, Mr. Cooper testified that Beacon

 downloaded his Dashcam, the ECM computer on his truck with trouble codes, his GPS, and that

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 he thought Safety Director Jeff Knittel was present for those downloads. Cooper Depo, p. 62 l.

 20 – p. 64 l. 7, attached as Exhibit 7). No ECM data, Omnitracs data, or Mr. Cooper’s personal

 GPS data was ever produced. Most egregiously, the loss of the video, photographic and phone

 electronic information has materially damaged the Plaintiff’s ability to prove both

 Beacon/Cooper’s liability and Ms. Noble’s damages for her pain and suffering.

                        A.     Omnitracs electronic messaging information was destroyed.

        Mr. Cooper confirmed that his Omnitracs/Qualcomm computer was downloaded on his

 return. Cooper Depo, at p 60 l. 15-23 and p. 65 l. 1-18, attached at Exhibit 7. He also confirmed

 that he used it when he reported this crash to Beacon (that he coded the crash into his

 Omnitracs/Qualcomm unit). Cooper Depo, p. 72, l. 20, attached as Exhibit 7. Jeff Knittel,

 Safety Director for Beacon, confirmed that Beacon did not download or preserve the Qualcomm

 messaging between Cooper and Beacon. Knittel Depo, p. 19 l.4, attached as Exhibit 9. Some

 data was downloaded from the Omnitracs unit prior to the meeting with Mr. Cooper upon his

 return from the crash. Knittel Depo, p. 55 l. 2-18, attached as Exhibit 9. Despite its download

 by Beacon, no Qualcomm/Omnitracs dispatch communications were ever for the date of

 this crash or otherwise. This was the case although Mr. Knittel had continuing access to that

 data for at least four months after the crash – which would have included access roughly 90 days

 after the request for retention to avoid spoliation was made to him directly at Beacon and also

 known by its counsel. (Knittel Deposition, P 19 L 1- p. 20 l. 18, attached as Exhibit 9.) Stan

 Pritchett, an owner of Beacon and designated person to testify as a custodian of records, testified

 that he reviewed the preservation letter and Mr. Pritchett – testifying as records custodian for

 Beacon - claimed Jeff Knittel secured the Qualcomm messaging data. Pritchett Depo, p. 39 l.11 -

 p. 40 l. 7, attached As Exhibit 10. Again, Mr. Knittel denied securing the messaging data.



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        Plaintiff did not simply rely only on the Defendants to produce the Omnitracs this data

 either. Subpoena was issued for it from Omnitracs at Docket No. 17.1. Omnitracs responded to

 the subpoena issued to it that it retained no data from the time period of the crash. Omnitracs

 Subpoena Response, attached as Exhibit 4. Counsel Judd also stated that he did not believe that

 the Qualcomm data existed as of the date of the Cooper deposition in February of 2018. Cooper

 Depo, at p. 66 l. 10-24, attached as Exhibit 7. All was destroyed in time as Beacon intended it

 would be from Omnitracs’ limited retention policy.

        Beacon’s bad faith is further confirmed in written discovery responses served and filed in

 the record. At Docket No. 27. the same request was made for production of Omnitracs data in

 discovery as in the preservation letter (via Document Request No. 24 within Docket No. 27). No

 such materials were provided: only improper objection, stating: Objection. Beacon has no

 obligation to comply with this request, and it far exceeds the requirements of the Federal Civil

 Rules as it is onerous, overly broad, unduly burdensome and not geared to obtain relevant

 information. Moreover, it amounts to harassment”. The legal imperfections of the foregoing

 objection being obvious given the applicable Federal standards for discovery, Omnitracs had

 already destroyed Beacon’s dispatch messaging with Mr. Cooper as Beacon knew it had when it

 answered this request. This is material electronic information because Mr. Cooper reported the

 crash through Omnitracs. It existed. No Omnitracs messaging data was ever provided. Whatever

 else Mr. Cooper told Beacon in that communication reporting the crash will never be known.

 Nor will it be known what communications were had using the Omnitracs before the crash.

                       B.      Dashcam Footage was destroyed.

        With respect to dashcam footage that also existed, Mr. Cooper confirmed that his

 dashcam video was running at the time of the crash. He confirmed that it would also have



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 recorded his voice in the cabin. It shot video forward. It recorded that video with sound.

 However, when pressed as to what happed to the recording, he claimed that after the

 download by Beacon and a third party, he was told that “so it was on thou, though. They

 said nothing was recorded.” Cooper Depo, p. 61 l.7 – p. 62 l. 22, attached as Exhibit 7.

 His “they” is Beacon. It is clear that with the camera on a video that would have included

 the impact would have recorded, along with the sound of the impact, the traffic ahead of

 Mr. Cooper, traffic passing Mr. Cooper on the right, potentially his hazard lights as they

 blinked and made sound, and it would have been the best evidence of Mr. Cooper’s speed

 before and after the impact in this case. It would have recorded the Noble vehicle

 potentially, and the vehicles of the responders… Nothing was preserved.

         Confirming the scientific assistance this video would have provided as to liability,

 accident reconstructionist Mr. Joey Stidham testified that forward facing camera footage:

                 “[w]ould be huge in this case. One, it would document the speed
                 of the truck. We could get the speed the truck's actually moving
                 from the video. It would also show if there were any
                 obstructions in front of the truck. It would also show
                 contemporaneously if there were actually vehicle beside the
                 truck. Because if they weren't involved in the collision, you
                 could see them going by the truck”.
                 (Stidham Deposition, P 52 L 4-18, attached as Exhibit 11.)

         While Mr. Cooper waffles and wavers as to what the dashcam may or did not record in

 his deposition, the reality is that he testified that it was running at impact. It is a fact that he told

 Jeff Knittel he had that footage on the dash cam. Knittel Depo, p. 19 l.1 – p. 21 l.17, attached as

 Exhibit 9. He said it was downloaded. The dashcam digital footage existed.

                         C.      Hand held video camera footage was destroyed.

         A second, handheld video camera was reported by witness Ms. Moore. Ms. Moore

 witnessed Mr. Cooper photographing her with his phone camera and taking video with another

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 camera. Selena Moore Affidavit, P.2 and p. 4 at Docket No. 123-2. It is unclear if this is in

 addition to the forward facing dashcam; perhaps the dashcam was removed to shoot video of the

 scene. Either way, given Mr. Cooper’s reportedly horrid conduct at the scene of this crash,

 coupled with the description also in Ms. Moore’s affidavit as to the last conscious minutes of Ms.

 Noble’s life (gasping for air as Ms. Saylor and she prayed with her awaiting help, urging her to

 breath) there is true motive why video was maliciously destroyed to deny its use in this litigation.

                        D.     Mr. Cooper’s scene pictures were withheld in discovery
                               further evidencing malicious intent leading to the wipe of Mr.
                               Cooper’s cell phone.

        The record reflects that only select photographs of Mr. Cooper’s truck in the roadway

 were produced pre-suit, and in response to Plaintiff’s document requests. Pre-suit, the defense

 provided only ten (10) grainy black and white scanned photo copies of Mr. Cooper’s truck on I-

 75 attached as Exhibit 3. They were emailed by Counsel Judd to Counsel for the Plaintiff on

 May 17, 2017 with an email that explained he was sending the “bulk” of documents that were

 requested, including photographs taken by Mr. Cooper in Exhibit 3. Suit was thereafter filed.

 The sequence of the production of pictures by the defense in this case is highly suspect at best

 given that they were all taken at one time and possessed by defense counsel between May and

 August of 2017. Counsel Judd stated in Mr. Cooper’s deposition that between May and August

 of 2017 he attended a “download” of Mr. Cooper’s phone that he had conducted by a person he

 engaged. Cooper Depo, P 18, L 18-25, attached as Exhibit 7. He attended the download of the

 phone and secured a CD with pictures only from it. Ultimately those were proven to include

 pictures taken of Ms. Moore and others aiding Ms. Noble who was within her Jetta. Counsel

 Judd’s download of the Cooper phone contained only selected pictures – and nothing else.




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          It was in August of 2017 when Plaintiff’s Requests for Admission, Interrogatories and

 Requests for Production of Documents were issued to the Defendants. Mr. Cooper and Beacon

 were each required to admit or deny that Mr. Cooper took photographs of the Noble vehicle with

 Ms. Noble within it. Both formally denied doing so on September 7, 2017 in the Cooper and

 Beacon Responses to Requests for Admissions. See Docket No 22 wherein Beacon denies

 request No. 12 and Docket No. 23 wherein Mr. Cooper denies that he took photographs of the

 Noble vehicle with her inside of it at No. 12 and taking video at No. 13. The Defendants then

 again produced only the same grainy black and white photographs in Exhibit 3 on October 17,

 2017 when responses were made to the production requests of Plaintiff that had requested them.3

 Despite the denials of specific Requests for Admission and the production of record, Mr. Cooper,

 Beacon, and defense counsel were each in possession of these pictures taken by Mr. Cooper:




 3
  Plaintiff’s Production Request No. 10 sought “photographs, video, computer generated media, or other recordings
 of the interior and exterior of vehicles involved in this collision, the collision scene, the occurrence, or relating to
 any equipment or things originally located at of near the site of the occurrence”. The Defendants’ each responded
 with only “See attached Composite A.” Attached “Composite A” contained the same 10 gray, grainy photographs
 provided pre-suit. The discovery productions each contained a sub-file dated March 17, 2017 that had only the
 grainy Beacon truck damage pictures only produced with the defense responses.

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        The above photographs only came to light in Mr. Cooper’s deposition of February 19,

 2018. It was in that deposition that it was luckily discovered that Mr. Cooper had been prepared

 for his testimony by Counsel Judd using 16 photographs that Mr. Cooper took of the scene.

 These included Mr. Cooper’s never previously produced pictures of the Good Samaritans

 attempting to aid Ms. Noble during her recovery before her extrication. And there was more to

 come - Mr. Cooper went on to testify that he believed that the 16 photographs used to prepare

 him for his deposition was not a complete set of the pictures he took and that there were more

 than were produced in his deposition. Cooper Depo, p. 32 l. 18- p. 33 l.8, attached as Exhibit 7.

 Mr. Cooper claimed that he had taken approximately 20 photographs. Cooper Depo, p. 24 ll. 14-

 25, attached as Exhibit 7. It was also represented by Counsel Judd that he was 99% certain that

 the 16 photographs he used to prepare Mr. Cooper for his deposition had been previously

 produced. Cooper Depo, p. 26 l. 1-21, attached as Exhibit 7. However, no pictures of the Noble

 vehicle or of persons comforting Ms. Noble while she was inside it had. The record created by

 the defense formally denied their existence at Docket No’s 22 and 23.

        Next comes the phone examination. Prior to Mr. Cooper’s deposition, the parties had

 agreed that Mr. Cooper’s phone would be produced for inspection at his deposition. An Agreed

 Protective Order was entered at Docket No. 47 for the phone. Upon the much anticipated

 inspection of Mr. Cooper’s phone, it was revealed that Mr. Cooper’s phone had been factory

 reset 11 days earlier, on February 8, 2018. This reset was only 6 days after the phone

 inspection was noticed at Docket No. 39. It is astoundingly brazen and seemingly no coincidence

 that only six days after the inspection was set, Mr. Cooper factory resets and wipes his phone

 clean of all data. Cooper Depo, p. 15 l.19 – p. 19 l. 17, attached as Exhibit 7. Mr. Cooper




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 appeared to claim he did not know he was supposed to protect his phone since it had been

 downloaded by Counsel Judd. Cooper Depo, p. 16 l.14 – p. 18 l. 12., attached as Exhibit 7.

          Given the above, during the Cooper deposition Counsel Judd agreed to provide a copy of

 his “download” that Mr. Cooper had described of his phone. That “download” turned out to be

 no complete backup or mirror image of the phone’s memory, but rather only selected

 photographs cherrypicked from it. That “download” did fortuitously include the pictures that

 were previously denied as ever having been taken by Mr. Cooper of Ms. Noble in the Jetta.

 Importantly as to the intent of the Defendants, the Cooper deposition and Judd “download”

 established that Mr. Cooper, Beacon and Counsel Judd each had the Noble Jetta photographs

 when the denials were made of their existence, and the photographs were left out of both the

 Beacon and Cooper productions. This would appear nothing short of a conspiracy to deny Ms.

 Noble’s estate electronic evidence in this case that was ultimately partially foiled by Mr. Cooper

 – what was destroyed of other pictures and video will never be known, to Plaintiff’s harm.

                           E.       Specific evidence destroyed due to the wipe of the phone.

         The most blatant destruction of electronic of evidence beyond the Omnitracs data

 occurred with Mr. Cooper’s “wipe” of his phone.4 Docket No. 10 contains the report of the

 Parties’ Planning Meeting submitted to the Court. Paragraph 6(f) of it reported to the Court that

 the parties needed to download certain electronics, including Mr. Cooper’s phone, looking for

 video reported by witnesses. Again, Ms. Saylor and Ms. Moore each believe he videotaped

 them. On February 2, 2018, Plaintiff filed Docket No. 39, formally noticing the agreed Rule 34

 inspection of “all mobile or cellular phones, tablets, laptops, still and or video cameras to which


 4
   This is the phone which with Mr. Cooper admitted taking scene photographs of Ms. Moore, Ms. Anderson and
 others at the scene of the crash, at least some of which he emailed to Beacon’s Safety Manager on the day of the
 crash. It was never secured from Mr. Cooper, who continued to use it after the preservation request was made, and
 then factory reset it.

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 Defendant Terran Cooper had access on January 5, 2017”. (Docket No. 39). Mr. Cooper

 produced only his cell phone – he did not produce his dash cam or any other camera.

          Inspection revealed that Mr. Cooper “wiped” his phone clean of all evidence 6 days after

 the inspection was noticed on February 7, 2018. See Affidavit of Jason Woods, at Paragraph 4,

 attached as Exhibit 12.5 As to exactly what the defense’s undisclosed phone “downloader” was

 to download, Mr. Cooper was asked and explained that Mr. Judd’s third party in the presence of

 Mr. Judd downloaded and copied “every file on my phone”. Cooper Depo, p.17 l 14-17,

 attached as Exhibit 7. Mr. Cooper testified that it was his understanding that Beacon did a

 complete “download” of his phone, and all data on it, when he used the phrase “every file on my

 phone”. Cooper Depo, p. 19 – 20. ll.24 – 1, attached as Exhibit 7. Every file was not produced,

 much less preserved. Counsel Judd’s CD only contained selected picture files – nothing else.

          Mr. Jason Woods is a forensic computer consultant engaged by Plaintiff to evaluate Mr.

 Cooper’s phone and the files produced by the defense. Mr. Woods confirms in his attached

 affidavit that Defendant Cooper’s phone had been factory reset on February 7, 2018 at 12:40pm.

 Woods Affidavit, paragraph 4, attached as Exhibit 12. A factory reset function is intended to

 remove all user created data and return system settings and applications to their default state. No

 user data created before February 7, 2018, when Mr. Cooper reset and “wiped” his phone clean,

 could be recovered. All was intentionally and maliciously destroyed.

          Likewise, though Mr. Cooper claimed in his testimony that he understood that the

 entirety of his phone was “downloaded” with Counsel Judd, Mr. Woods verifies in his affidavit

 that the DVD disk supplied by Counsel Judd that was supposed to contain a complete backup of

 the phone did not. Data was truly “cherrypicked” for preservation, or at least for production if


 5
  That evaluation by Mr. Woods cost the Plaintiff significant sums in expert witness fees only to discover that the
 phone had been “wiped” with no chance of recovering data from it by Mr. Cooper.

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 Mr. Cooper is correct as to a full download. Material items were missing that would have been

 available had the entirety of the download been produced according to Mr. Woods included:

               “After reviewing the files provided, there are several items missing that
               would be available if the entirety of the Cellebrite extraction would have
               been produced, including:
                 • List of installed applications,
                 • Database files for each application that could contain:
                 ▪ Messages
                 ▪ Photos
                 ▪ Video
                 ▪ Audio
                 ▪ Timestamp data
                 ▪ Location data
                 • Cellular Voice Usage
                 • SMS(Text) Messages
                 • MMS(Media Messages)
                 • Voicemail
                 • Email
                 • Cellular Data Usage
                 • Photos
                 • Video
                 • Audio
                 • Documents
                 • Web browsing history
                 • Location/GPS data that may include:
                 ▪ Maps and Routes searched and taken
                 ▪ Stops made on these routes
                 ▪ Total time and distances traveled per route
                 • Metadata from all files recovered that could include:
                 ▪ Date and time created
                 ▪ Date and time modified
                 ▪ Thumbnails for photo and video
                 ▪ Author of documents
                 • Cellebrite generated data that would be used to verify the results of
                    the extraction and examination including:
                 ▪ A forensic image of the device data
                 ▪ Cryptographic hashes necessary to verify the integrity of the
                    recovered data
                 ▪ Forensic report of the relevant data
                 ▪ Presentation of a “Timeline” that aggregates the timestamps of files
                    and events on the device in chronological order.
                 • Battery usage



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                  •   Power events (Turning the phone off and on or battery use of
                      applications”
                       Affidavit of Jason Woods, Pages 2-3, attached as Exhibit 13.


                        F.      Material electronic evidence was intentionally and maliciously
                                destroyed to deny it to the Plaintiff, the Court, and the Jury
                                warranting severe sanction under Rule 37(e)2.

        The Court may sanction a party for failing to preserve relevant electronically stored

 information (“ESI”) under Rule 37(e). Rule 37(e) states in its entirety:

        (e) Failure to Preserve Electronically Stored Information. If electronically

        stored information that should have been preserved in the anticipation or conduct

        of litigation is lost because a party failed to take reasonable steps to preserve it,

        and it cannot be restored or replaced through additional discovery, the court:

        (1)     upon finding prejudice to another party from loss of the information, may

                order measures no greater than necessary to cure the prejudice; or

        (2)     only upon finding that the party acted with the intent to deprive another

                party of the information's use in the litigation may:

                        (A) presume that the lost information was unfavorable to the party;

                        (B) instruct the jury that it may or must presume the information

                        was unfavorable to the party; or

                        (C) dismiss the action or enter a default judgment.

        Given their pattern of conduct shown above, Mr. Cooper and Beacon’s conduct is clearly

 in need of the most severe of sanctions by the Court under Rule 37(e)(2). Theirs is a pervasive

 pattern of the intentional suppression of information due the Plaintiffs, coupled with the

 intentional and malicious destruction of material evidence that has been proven to have existed

 while they were obligated to preserve it. Rule 37(e) was amended in 2015 to address this very

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 conduct. According to the comments following the Rule, the Court must look at the

 reasonableness of the actions of these Defendants as to the efforts taken to preserve the

 Omnitracs data. Neither Mr. Cooper, Beacon, or their counsel’s actions on their behalf were

 reasonable: Omnitracs data could have been preserved with a click of Mr. Knittel’s computer

 keyboard, with a print-out of the website he checked or from the Unit Beacon downloaded... Mr.

 Cooper’s phone could have been preserved by securing it in a safe as Plaintiff did with Ms.

 Noble’s phone. A mirror back-up of it also could have been obtained. The dash and handheld

 video camera’s could have had mirror back-ups performed, and gone in that same safe given that

 this is a death case. None of this occurred. Cameras were not produced. Mr. Cooper

 purposefully reset his phone…

        The electronic information lost as a result of the misconduct of these Defendants cannot

 be replaced. It was material evidence. Spoliation of it occurred. Spoliation is “the destruction or

 significant alteration of evidence, or the failure to preserve property for another's use as evidence

 in pending or reasonably foreseeable litigation.” West v. Goodyear Tire & Rubber Co., 167 F.3d

 776, 779 (2d Cir. 1999). Material evidence is that which is “relevant and probative,” and has a

 determinative impact on the outcome of a matter. See e.g., Caulder v. Bowen, 791, F.2d 872, 877

 (11th Cir. 1986); Calhoun v. Colvin, 2014 U.S. Dist.LEXIS 118822, *13 (E.D.N.C. 2014);

 Greene v. Astrue, 2011 U.S. Dist. LEXIS 73515, *10 (D.Kan. 2011) (“[E]vidence is material if it

 bears directly and substantially on the matter in dispute”). Plaintiff was materially prejudiced as

 a result of these Defendants’ malicious conduct, as the records shows was intended, with the

 destruction of evidence from Mr. Cooper’s phone, his dash cam, his video camera, and Beacon’s

 Omnitracs communications.




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        This malicious, bad faith and deliberate malfeasance by both corporate personnel at

 Beacon and Mr. Cooper, in complicity, documented in the record of this case, justifies an Order

 of severe sanctions under Rule 37(e)(2) against these Defendants. That Order should be tailored

 to remedy specific issues that the conduct affected: 1) Beacon’s legal liability and 2) Ms. Noble’s

 damages for her pain and suffering before her death. The electronic information that should have

 been preserved and produced by both Defendants frankly would have been the best evidence of

 the case as to how the crash occurred and what Ms. Noble experienced afterwards before

 succumbing to her injuries.

         It is respectfully requested that the Court Order sanctions directing a verdict as to the

 liability of the Defendants for this crash and further directing a verdict that Ms. Noble

 experienced conscious pain and suffering as a result of her fatal injuries sustained in it. In the

 alternative should the Court find these remedies inappropriate in its discretion, the Court is

 petitioned to sanction Beacon and Mr. Cooper with instructions to the jury that it must presume

 that the destroyed information was unfavorable to Beacon and to Mr. Cooper with respect to

 Beacon’s liability for causing the crash, and that it must be presumed also that the information

 destroyed was unfavorable to them both with respect to the award that the jury may provide for

 Ms. Noble’s conscious pain and suffering prior to her death. There is no excuse permissible for

 this blatant, unfair, malicious destruction of material evidence. The court is further requested to

 consider and make an award of attorney fees and costs pertaining to this motion and the quest for

 the evidence that was destroyed. The conduct of these parties is egregious, and blatantly

 contemptuous of the judicial system and the Rules of Court.




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                                              Respectfully submitted,



                                              _ /s/Timothy D. Lange___________
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                                              ATTORNEYS FOR PLAINTIFF




                                         CERTIFICATE

        It is hereby certified that on the foregoing was filed January 31, 2019 with the Clerk of

 the Court by using the CM/ECF system, which will send a notice of electronic filing to all

 counsel of record.



                                              /s/ Timothy D. Lange
                                              TIMOTHY D. LANGE




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